963 F.2d 381
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Clarence Bernardo PATTERSON, Defendant-Appellant.
    No. 91-10321.
    United States Court of Appeals, Ninth Circuit.
    Submitted May 13, 1992.*Decided May 18, 1992.
    
      Before BOOCHEVER, REINHARDT and KOZINSKI, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Federal district courts have broad authority to revoke probation, and we will reverse such a decision only for an abuse of discretion.   United States v. Laughlin, 933 F.2d 786, 788 (9th Cir.1991).   There was none here.
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    